USCA11 Case: 22-11150     Document: 37          Date Filed: 08/26/2022    Page: 1 of 67
                                 22-11150

       United States Court of Appeals
                                      for the

                      Eleventh Circuit
IRA KLEIMAN, as the Personal Representative of the Estate of David Kleiman,

                                                                     Plaintiff/Appellant,

                                       – v. –

                             CRAIG WRIGHT,

                                                                   Defendant/Appellee.
                        _____________________________
        APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF FLORIDA
                   CASE NO: 9:18-cv-80176-BB
                       (Hon. Beth Bloom)

 CORRECTED INITIAL BRIEF OF APPELLANT
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 USCA11 Case: 22-11150      Document: 37     Date Filed: 08/26/2022   Page: 2 of 67
                      Ira Kleiman v. Craig Wright, 22-11150

             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Produce 26.1 and Eleventh Circuit Rule

26.1-1, Appellant IRA KLEIMAN, as the Personal Representative of the Estate of

David Kleiman, respectfully submits the following Certificate of Interested Parties

and Corporate Disclosure Statement:

         1. The Honorable Judge Beth Bloom, U.S. District Judge

         2. Boies Schiller Flexner LLP, Counsel for Plaintiff-Appellant

         3. Brenner, Andrew, Counsel for Plaintiff-Appellant

         4. BTCN 1610-491 LLC (CE)

         5. Delich, Joseph, Counsel for Plaintiff-Appellant

         6. Devine Goodman & Rasco, LLP, Counsel for non-party Andrew

            O’Hagan

         7. Economides, Constantine Philip Counsel for Plaintiff-Appellant

         8. Estate of David Kleiman, Plaintiff-Appellant

         9. Fernandez, Amanda Lara, Counsel for Defendant-Appellee

         10. Fernandez, Michael, Counsel for Defendant-Appellee

         11. Freedman, Velvel, Counsel for Plaintiff-Appellant

         12. Glaser, Patricia, Counsel for non-party John Doe


                                       C-1
USCA11 Case: 22-11150      Document: 37    Date Filed: 08/26/2022   Page: 3 of 67
                   Ira Kleiman v. Craig Wright, 22-11150

       13. Glaser Weil Fink Howard Avchen & Shapiro LLP, Counsel for non-

          party John Doe

       14. Harrison, Laselve, Counsel for Plaintiff-Appellant

       15. *Holtzman, Alexander, Counsel for Plaintiff-Appellant

       16. Kass, Zalman, Counsel for Defendant-Appellee

       17. Kleiman, Ira, Plaintiff-Appellant

       18. Lagos, Stephen, Counsel for Plaintiff-Appellant

       19. Licata, Samantha, Counsel for Plaintiff-Appellant

       20. Lohr, Whitney, Counsel for Defendant-Appellee

       21. *Markoe, Zaharah, Counsel for Defendant-Appellee

       22. McGovern, Amanda Counsel for Defendant-Appellee

       23. Mestre, Jorge, Counsel for Defendant-Appellee

       24. Payne, Darrell Winston, Counsel for non-party John Doe

       25. Pritt, Maxwell, Counsel for Plaintiff-Appellant

       26. Rasco, Guy Austin, Counsel for non-party Andrew O’Hagan

       27. The Honorable Judge Bruce Reinhart, U.S. District Magistrate Judge

       28. Rivero, Andres, Counsel for Defendant-Appellee

       29. Rivero Mestre LLP, Counsel for Defendant-Appellee

       30. Roche Freedman LLP, Counsel for Plaintiff-Appellant

       31. Roche, Kyle, Counsel for Plaintiff-Appellant
                                     C-2
 USCA11 Case: 22-11150       Document: 37        Date Filed: 08/26/2022   Page: 4 of 67
                      Ira Kleiman v. Craig Wright, 22-11150

         32. Rolnick, Alan, Counsel for Defendant-Appellee

         33. Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A., Counsel

             for non-party John Doe

         34. Wright, Craig, Defendant-Appellee

         35. Zack, Stephen, Counsel for Plaintiff-Appellant

* = no longer involved in representation

      Appellant certifies that no publicly traded company or corporation has an

interest in the outcome of the case of appeal.




                                         C-3
 USCA11 Case: 22-11150          Document: 37   Date Filed: 08/26/2022   Page: 5 of 67



               STATEMENT REGARDING ORAL ARGUMENT
      Appellant, IRA KLEIMAN, as Personal Representative of the Estate of David

Kleiman, respectfully requests oral argument to assist the Court’s consideration of

issues raised in this appeal.




                                           i
 USCA11 Case: 22-11150                  Document: 37           Date Filed: 08/26/2022             Page: 6 of 67



                                        TABLE OF CONTENTS

                                                                                                               Page


CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
    DISCLOSURE STATEMENT .................................................................... C-1
STATEMENT REGARDING ORAL ARGUMENT ................................................i
TABLE OF AUTHORITIES ....................................................................................iv
STATEMENT OF JURISDICTION.......................................................................... 1
STATEMENT OF ISSUES ON APPEAL ................................................................ 1
STATEMENT OF THE CASE .................................................................................. 2
         I.       PROCEEDINGS BELOW .................................................................... 2
         II.      FACTUAL BACKGROUND ............................................................... 3
                  A.       The Estate’s Partnership Claim................................................... 3
                  B.       Wright Engaged in Serial Misconduct Designed To
                           Shield Him From Liability .......................................................... 5
                  C.       Wright Repeatedly Breached the Motion in Limine
                           Order To Prejudice the Estate’s Partnership Claim .................. 12
STANDARD OF REVIEW ..................................................................................... 23
SUMMARY OF ARGUMENT ............................................................................... 24
ARGUMENT ........................................................................................................... 26
         I.       The District Court erroneously instructed the jury on
                  partnership formation .......................................................................... 26
         II.      The District Court erroneously vacated the Magistrate
                  Judge’s issue sanctions ........................................................................ 30
                  A.       The District Judge misapplied Supreme Court and
                           Eleventh Circuit sanctions precedent and applied an
                           erroneous legal standard that conflicts with Rule 37 ................ 34




                                                          ii
 USCA11 Case: 22-11150                   Document: 37            Date Filed: 08/26/2022                Page: 7 of 67



                  B.       Even if the District Judge applied the correct legal
                           standard, it still abused its discretion by vacating the
                           Magistrate Judge’s order imposing issue sanctions .................. 41
                  C.       The Magistrate Judge correctly found that no lesser
                           sanction would suffice to address Wright’s pervasive
                           misconduct ................................................................................ 43
         III.     The District Court abused its discretion in denying the
                  estate’s motion for a new trial despite Wright’s multiple,
                  intentional violations of the in limine order ........................................ 45
                  A.       A new trial should be ordered, because Wright’s
                           multiple, intentional violations of the in limine order
                           influenced the jury’s dispassionate consideration of
                           the case ...................................................................................... 47
                           1.       The Estate did not waive the issue ................................. 47
                           2.       The violations were of sufficient magnitude to
                                    warrant a new trial .......................................................... 49
CONCLUSION ........................................................................................................ 54




                                                           iii
 USCA11 Case: 22-11150                 Document: 37           Date Filed: 08/26/2022            Page: 8 of 67



                                    TABLE OF AUTHORITIES
                                                                                                         Page(s)
Cases:
Adamson v. R.J. Reynolds Tobacco Co.,
 325 So. 3d 887 (Fla. Dist. Ct. App. 2021), rev. denied, 2021 WL 6140352
 (Fla. Dec. 30, 2021) ........................................................................................ 44-45
Alabama Aircraft Indus., Inc. v. Boeing Co.,
  2022 WL 433457 (11th Cir. Feb. 14, 2022) .........................................................23
Allstate Ins. Co. v. James,
  845 F.2d 315 (11th Cir. 1988) .................................................................. 46, 52-53
Chilcutt v. United States,
 4 F.3d 1313 (5th Cir. 1993) ..................................................................................37
Christopher v. Florida,
 449 F.3d 1360 (11th Cir. 2006) ............................................................................49
City of Cleveland v. Peter Kiewit Sons' Co.,
 624 F.2d 749 (6th Cir. 1980) ................................................................................46
Cox v. Target Corp.,
 351 F. App’x 381 (11th Cir. 2009) .......................................................................44
Devaney v. Cont’l Am. Ins. Co.,
 989 F.2d 1154 (11th Cir. 1993) ............................................................................23
Dreyfuss v. Dreyfuss,
 701 So. 2d 437 (Fla. 3d DCA 1997) .....................................................................29
Feeassco, LLC v. Steel Network, Inc.,
 264 N.C. App. 327 (2019) ............................................................................. 37, 38
Fencorp Co. v. Ohio Kentucky Oil Corp.,
 675 F.3d 933 (6th Cir. 2012) ................................................................................37
Flury v. Daimler Chrysler Corp.,
  427 F.3d 939 (11th Cir. 2005) ..............................................................................24
Fuente Cigar, Ltd. v. Roadway Exp., Inc.,
 961 F.2d 1558 (11th Cir. 1992) ............................................................................23
Fuentes v. Classica Cruise Operator Ltd., Inc.,
 32 F.4th 1311 (11th Cir. 2022) .............................................................................43


                                                        iv
 USCA11 Case: 22-11150                 Document: 37           Date Filed: 08/26/2022             Page: 9 of 67



Gen. Ins. Co. of Am. v. E. Consol. Utilities, Inc.,
 126 F.3d 215 (3d Cir. 1997) .................................................................................37
Goodman v. Safeco Insurance Co. of Illinois,
 2015 WL 898696 (M.D. Fla. Mar. 3, 2015) .........................................................49
Hammond Packing Co. v. State of Arkansas,
 212 U.S. 322 (1909) ..............................................................................................35
In re Equifax Inc. Customer Data Sec. Breach Litig.,
  999 F.3d 1247 (11th Cir.) .....................................................................................23
In re KeyTronics,
  744 N.W.2d 425 (Neb. 2008) ...............................................................................29
Ingram v. Deere,
  288 S.W.3d 886 (Tex. 2009).................................................................................28
Insurance Corp. of Ireland v. Compagnie des Bauxites de Guinee,
  456 U.S. 694 (1982) ...................................................................................... passim
Kislak v. Kreedian,
 95 So.2d 510 (Fla. 1957) ......................................................................... 27, 28, 29
Kucel v. Walter E. Heller & Co.,
 813 F.2d 67 (5th Cir. 1987) ..................................................................................48
Lawler v. Alexander,
 698 F.2d 439 (11th Cir. 1983) ..............................................................................48
Lizarazo v. Miami-Dade Corr. & Rehab. Dep’t,
  878 F.3d 1008 (11th Cir. 2017) ............................................................................24
McWhorter v. City of Birmingham,
 906 F.2d 674 (11th Cir. 1990) ..............................................................................49
Mega Life & Health Ins. Co. v. Pieniozek,
 585 F.3d 1399 (11th Cir. 2009) ............................................................................23
National Hockey League v. Metropolitan Hockey Club, Inc.,
 427 U.S. 639 (1976) ..............................................................................................40
O’Rear v. Fruehauf Corp.,
 554 F.2d 1304 (5th Cir. 1977) ..............................................................................53
Pinnacle Port Cmty. Ass'n., Inc. v. Orenstein,
  872 F.2d 1536 (11th Cir. 1989) ............................................................................27



                                                         v
 USCA11 Case: 22-11150                  Document: 37            Date Filed: 08/26/2022              Page: 10 of 67



Rafael J. Roca, P.A. v. Lytal & Reiter, Clark, Roca, Fountain & Williams,
 856 So.2d 1 (Fla. 4th DCA 2003) .........................................................................28
Reilly v. Meffe,
 6 F. Supp. 3d 760 (S.D. Ohio 2014) .....................................................................28
Ruiz v. Wing,
 991 F.3d 1130 (11th Cir. 2021) ............................................................................45
S. New England Tel. Co. v. Glob. NAPs Inc.,
  624 F.3d 123 (2d Cir. 2010) .................................................................................40
SEC v. Yun,
 327 F.3d 1263 (11th Cir. 2003) ............................................................................23
Serra Chevrolet, Inc. v. General Motors Corp.,
  446 F.3d 1137 (11th Cir. 2006) .................................................................... passim
Simmons v. Bradshaw,
  879 F.3d 1157 (11th Cir. 2018) ............................................................... 23, 26, 30
Singh v. Caribbean Airlines Ltd.,
  13-CV-20639, 2014 WL 4101544 (S.D. Fla. Jan. 28, 2014) ...............................53
Smith v. Sch. Bd. of Orange Cnty.,
 487 F.3d 1361 (11th Cir. 2007) ............................................................................39
Stewart & Stevenson Servs., Inc. v. Pickard,
  749 F.2d 635 (11th Cir. 1984) ..............................................................................48
United States v. Hernandez,
 921 F.2d 1569 (11th Cir. 1991) ............................................................................48
Vinson v. Koch Foods of Alabama, LLC,
  12 F.4th 1270 (11th Cir. 2021) ................................................................ 24, 45, 51
Williams v. Obstfeld,
 314 F.3d 1270 (11th Cir. 2002) ............................................................................29
Yaffa v. Weidner,
 717 F. App’x 878 (11th Cir. 2017) .......................................................................36

Statutes and Other Authorities:
28 U.S.C. § 1291 ........................................................................................................1
28 U.S.C. § 1332 ........................................................................................................1
Fed. R. Civ. P. 26(c)(3) ............................................................................................32

                                                           vi
 USCA11 Case: 22-11150                  Document: 37             Date Filed: 08/26/2022             Page: 11 of 67



Fed. R. Civ. P. 37 ............................................................................................. passim
Fed. R. Civ. P. 37(a)(5)(A) ......................................................................................32
Fed. R. Civ. P. 37(b)(2)..................................................................................... 35, 36
Fed. R. Civ. P. 37(b)(2)(A) ............................................................................... 35, 43
Fed. R. Civ. P. 37(b)(2)(A)(i) ..................................................................... 35, 36, 37
Fed. R. Civ. P. 37(b)(2)(A)(iii) ................................................................................36
Fed. R. Civ. P. 72(a).................................................................................................39
Fed. R. Civ. P. 103(b) ..............................................................................................48
Fla. Stat. § 620.8001 ................................................................................................26
Fla. Stat. § 620.8202(1)............................................................................................27
Fla. Stat. § 620.8202(3)(c) .......................................................................................27
Fla. Stat. § 620.9902 ................................................................................................29
Fla. Std. Jury Instr. in Civil Case 401.14(d) (Feb. 1, 2018) ....................................28
RUPA § 202 .............................................................................................................27
Carolina Bolado, No Proof Bitcoin ‘Inventor’ Owed Friend, Juror Tells
 Law360, Law360, Dec. 23, 2021 ............................................................. 21, 50, 51
Cheyenne Ligon, Day 4 of Kleiman v. Wright: Craig Wright’s Testimony
 Delayed, Yahoo!, Nov. 4, 2021 ............................................................................19
Coingeek, Kleiman vs Wright, YouTube (last visited Jan. 1, 2022)........................20
Jordan Atkins, Satoshi Nakamoto Trial, the Biggest Revelations From
  Week 1 of Kleiman v Wright, Coingeek, Nov. 6, 2021 .........................................21
Patrick Thompson, Ira Kleiman Shows Up on Day 3 of Kleiman v Wright
 Trial, Coingeek, Nov. 4, 2021 ..............................................................................20
Patrick Thompson, Kleiman v Wright Day 4 Recap: What Ira Kleiman Knew
 About Dave Kleiman, Coingeek, Nov. 5, 2021.....................................................20
Steven Stradbrooke, Ira Kleiman Serves Up a Bitcoin Turkey in Wright
  Lawsuit Testimony, Coingeek, Nov. 5, 2021 ........................................................19




                                                           vii
USCA11 Case: 22-11150         Document: 37      Date Filed: 08/26/2022   Page: 12 of 67



                         STATEMENT OF JURISDICTION

      This Court has jurisdiction pursuant to 28 U.S.C. §1291. The District Court

entered final judgment on December 7, 2021, and an amended final judgment on

March 9, 2022. The Estate of David Kleiman (the “Estate”) timely filed a Notice of

Appeal on April 8, 2022. The District Court had diversity jurisdiction under 28

U.S.C. §1332 because the amount in controversy exceeds $75,000, the Estate is

administered under Florida law, and Appellee is a U.K. citizen.

                      STATEMENT OF ISSUES ON APPEAL

      1.       Did the District Court err by instructing the jury under prior partnership

law (which required proof of five specific factors) instead of under the current law

(which adopts a totality of the circumstances approach, with no factor deemed

“required”)?

      2.       After affirming the Magistrate Judge’s findings that Appellee’s

testimony was “ intentionally false” and “part of a sustained and concerted effort

to impede discovery, all of which resulted in prejudice to the Estate’s ability to prove

its case,” did the District Court err by vacating issue sanctions imposed by the

Magistrate Judge?

      3.       Did the District Court err by denying a new trial despite Appellee’s

multiple, intentional violations of the in limine order, which clearly and improperly

influenced the jury’s dispassionate consideration of the case?



                                            1
USCA11 Case: 22-11150        Document: 37     Date Filed: 08/26/2022   Page: 13 of 67



                          STATEMENT OF THE CASE

   I.      PROCEEDINGS BELOW

        The Estate, along with W&K Info Defense Research LLC (“W&K”),

commenced this action against Craig Wright (“Wright”) on February 14, 2018. At

its core, the dispute concerns the ownership of certain bitcoin and blockchain-related

technology: Wright claimed to be the sole owner of the assets at issue, while the

Estate claimed that, as a result of a partnership between the decedent, David Kleiman

(“David”), and Wright, it owns half of the bitcoin, and W&K claimed that it was the

rightful owner of the relevant blockchain-related intellectual property.

        As detailed below, the Estate’s ability to prosecute this matter was severely

impeded not only by Wright’s failure to comply with basic discovery obligations,

but also by his disregard of Court orders compelling his compliance. In imposing

sanctions against Wright, Magistrate Judge Reinhart ultimately found—by clear and

convincing evidence—that Wright repeatedly perjured himself, submitted forged

documents to the Court, and willfully refused to comply with discovery. These

factual findings were affirmed by the District Court (Bloom, J.), which nevertheless

vacated Judge Reinhart’s order to the extent that it deemed certain facts established

in the Estate’s favor.

        The case proceeded to a jury trial, which lasted from November 1 to

November 23, 2021. On December 6, the jury reached its verdict, finding for W&K



                                          2
USCA11 Case: 22-11150        Document: 37     Date Filed: 08/26/2022   Page: 14 of 67



on its conversion claim, but otherwise finding for Wright. With respect to W&K’s

conversion claim, the jury awarded W&K $100 million in compensatory damages;

that amount was reduced to a Final Judgment, which was later amended to include

an additional $43 million in prejudgment interest. Post-judgment interest continues

to accrue, as Wright—a self-described billionaire—has refused to make a single

payment.

         On January 4, 2022, the Estate—but not W&K—moved for a new trial. That

motion was denied on February 28, 2022, and the Estate timely filed its Notice of

Appeal on April 8.

   II.      FACTUAL BACKGROUND

         A. The Estate’s Partnership Claim.

         This appeal focuses on the Estate’s claims that Wright and David formed a

partnership to mine bitcoin. As set forth below, the Court erroneously instructed the

jury on the elements of a partnership, forcing the Estate to prove things it should not

have been required to prove. This error was exacerbated by the Court’s failure to (i)

properly address Wright’s discovery misconduct (including repeated perjury,

forgery, and refusal to provide discovery), and (ii) remediate the prejudice these

actions caused the Estate. To be sure, Wright’s discovery misconduct is beyond

dispute: it was found by the Magistrate Judge by clear and convincing evidence after

an in-person hearing at which Wright testified, and affirmed by the District Court,



                                          3
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022    Page: 15 of 67



and it was not appealed by Wright. What is at issue here is the District Court’s

failure to address Wright’s misconduct appropriately, which allowed Wright to

avoid liability to the Estate for his theft of his former business partner’s bitcoin.

      To understand the prejudice Wright’s misconduct caused the Estate, it is

important to understand the Estate’s partnership claim as it related to bitcoin mining.

In the years in which the bitcoin at issue was mined, from approximately 2009 to

2013, Wright repeatedly referred to David as his “partner,” including in the context

of bitcoin mining, and otherwise affirmed that he and David jointly mined bitcoin.

For example:

    Wright told the CFO of his company that David and he mined bitcoin together

      (ECF [611-14] at 49:13-50:19, 139:8-16, 140:1-3);

    Wright told a journalist writing a long-form piece on him and his involvement

      with the creation of Bitcoin, that he and David mined bitcoin together (ECF

      [611-20], at 82:9-12, 82:16-21, 88:8-17, 89:6-90:9, 99:21-100:9, 101:1-7,

      144:23-145:4);

    Wright told his wife and his lawyer that David handled their bitcoin mining

      (P149 at 1);

    Wright told the Australian police that David was in charge of their bitcoin

      mining (P464 at 7, 31-32);




                                           4
USCA11 Case: 22-11150       Document: 37     Date Filed: 08/26/2022   Page: 16 of 67



    Wright told the Australian Tax Office (referred to throughout trial as the

      “ATO”) that the bitcoin he controlled was mined in the United States, where

      David lived and he did not, and that David mined bitcoin for them (P189 at 1;

      P172 at 7; P173 at 7);

    After David died, Wright told David’s best friends that David mined bitcoin

      for both of them (P122 at 4), and he later confirmed this to David’s brother

      and personal representative of David’s Estate, Ira Kleiman (P161 at 1).

      Had the jury been instructed appropriately, the above admissions would surely

have been sufficient to establish a partnership to mine bitcoin. Further, Wright’s

discovery misconduct (discussed below), and the Court’s unwillingness to remediate

it adequately, made proof of the partnership elements required in the Court’s

erroneous instruction too difficult to overcome.

      B. Wright Engaged in Serial Misconduct Designed To Shield Him From
         Liability.

      Wright’s misconduct ran unabated throughout the case, even during trial. For

example, Wright filed four dispositive motions—two motions to dismiss, one motion

for judgment on the pleadings, and one motion for summary judgment, and

supported each of them with either false sworn statements or fabricated evidence.

In support of his original motion to dismiss on personal jurisdiction, Wright

submitted a sworn declaration claiming no relationship with W&K (ECF [012-2], at

2), which was directly contrary to a sworn declaration he submitted to courts in

                                         5
USCA11 Case: 22-11150        Document: 37     Date Filed: 08/26/2022   Page: 17 of 67



Australia (ECF [083], at ¶¶160-170 (providing detailed description of perjury)). In

other words, Wright lied, under oath to try to defeat jurisdiction.

       He then submitted another perjurious declaration supporting his second

 motion to dismiss for forum non conveniens, in which he falsely swore he had “no

 documents” from “any ATO investigation.” ECF [033-3] at ¶18. Discovery

 revealed the magnitude of the deception: Wright had thousands of documents

 from the ATO. ECF [127], at 7-8. Again, he lied, under oath, to the Court.

      Later, Wright pivoted from perjury to forgery, submitting two forged exhibits

in support of his motion for judgment on the pleadings. See ECF [144-1]; [144-6].

Wright withdrew these documents when they were publicly exposed as forgeries.

See ECF No [159], [154], and [242-2]. In denying Wright’s motion and discussing

Wright’s pattern of deception, the District Court quoted Sir Walter Scott’s

Marmion: “Oh! What a tangled web we weave when first we practice to deceive.”

ECF [265], at 4, 10.

      Undeterred, Wright then moved for summary judgment. There, in support

of an argument that the Court lacked diversity jurisdiction, he submitted an alleged

Australian “divorce decree” between Wright and his ex-wife from June 2011 that

referenced her alleged interest in W&K. ECF [488-17] at 147-148. But the Estate

and W&K obtained the Wrights’ divorce records directly from the Federal Circuit




                                          6
USCA11 Case: 22-11150           Document: 37      Date Filed: 08/26/2022    Page: 18 of 67



Court of Australia, which state there were not any “binding agreements. . . . about

family law . . . involving any of the parties. ” ECF [507-1], at Part E.21.1

         Wright’s pattern of lies came to head when he refused, despite the

Magistrate’s order (“Order”), to produce a list of the bitcoin he claimed to have

mined (which the Estate alleged was mined as part of a partnership with David

Kleiman).

         Wright first argued that he was unable to comply with the Order, stating that

    “[i]n 2011, Dr. Wright transferred ownership of all of his Bitcoin into a blind trust

    [called the Tulip Trust] and that he was “not a trustee or a beneficiary of the blind

    trust.” ECF [217] at 2. But those representations directly contradicted deposition

    testimony Wright gave just weeks earlier, when he swore that (1) he never put any

    bitcoin into a trust,2 and (2) the trust he referred to as the “Tulip Trust” never came

    to hold the private keys to bitcoin addresses.3 See ECF [373], at 4. When the

    Magistrate Judge did not accept this claim, Wright submitted a sworn statement


1
 This is by no means the extent of Wright’s forgeries or perjury. See generally
ECF [265].
2
  ECF [312-1], at 294:1-18 (“Q. Did you put Bitcoin into the trust in 2011? No. Q.
Did you put Bitcoin into the trust in 2012? No. Q. Did you ever put Bitcoin into the
trust? No. Q. Did anyone ever put Bitcoin into the trust? No.”)
3
 ECF [312-1], at 294:20-295:6 (“Q. Did the Tulip Trust ever come to hold private
keys to Bitcoin wallets? No. Q. Did it ever come to own or possess private keys to
Bitcoin addresses? No. Q. What is the relationship between the Tulip Trust and
Bitcoin? What the hell does that question even mean?”)


                                              7
USCA11 Case: 22-11150            Document: 37       Date Filed: 08/26/2022     Page: 19 of 67



    that—incredibly—contradicted both his prior assertion and his deposition

    testimony. Specifically, he now affirmed to the Court that he (i) did put bitcoin

    into the trusts and that he was both (ii) a trustee and (iii) a beneficiary of the trusts.4

    But, he still said he could not comply with the Order, asserting the bitcoin

    remained locked in an encrypted file that could only be accessed with cooperation

    from a group of trustees.

         Ultimately, the Magistrate Judge ordered Wright to produce documents to

support his “impossibility” claims and set an evidentiary hearing on the issue. At

that hearing, Wright “testified that it was impossible to comply with the Court’s

Orders regarding his Bitcoin Holdings” because he needed eight “key slices” to

unlock the “encrypted file,” but only had seven. ECF [373] at 9; ECF [236] at 125.

         Dr. Matthew Edman, a cybersecurity engineer and forensic expert, also

testified at the hearing. He explained that the trust documents, as well as other

documents that Wright produced in response to the Order, and that Wright had relied




4
  ECF [222] (redacted) at ¶ 5; (“a formal trust document was executed, creating a
trust whose corpus included the Bitcoin that I mined, acquired and would acquire in
the future. The name of that trust is Tulip Trust.”); id. at ¶ 7 (“the trustees for Tulip
Trust 1 are . . . Craig Steven Wright . . . Satoshi Nakamoto (i.e., Craig Wright).”);
id. at ¶ 14 (“I am the contact person for both beneficiaries”); id. at ¶ 20 (“the primary
beneficiaries of Tulip Trust II are me and my wife . . .”).



                                                8
USCA11 Case: 22-11150           Document: 37   Date Filed: 08/26/2022   Page: 20 of 67



on to support his “impossibility” argument, were forgeries. ECF [332], at 13-15

(detailing the evidence demonstrating the forgeries).

       At the conclusion of the show cause hearing, the Magistrate Judge found, by

clear and convincing evidence, that Wright had “intentionally submitted fraudulent

documents to the Court, obstructed a judicial proceeding, and gave perjurious

testimony.”     ECF [277], at 28.       He also found Wright’s testimony” was

“ intentionally false,” and “part of a sustained and concerted effort to impede

discovery . . . .” Id. at 21.

       The Magistrate Judge concluded that Wright’s misconduct was “willful and

in bad faith”, and he imposed sanctions under Fed. R. Civ. P. 37, deeming the

following facts established (the “Deemed Facts”): Wright and David Kleiman

“entered into a 50/50 partnership to develop Bitcoin intellectual property and to

mine bitcoin”; “all bitcoin mined” and “any Bitcoin-related intellectual property

developed” by Wright prior to David’s death “was property of the partnership,” and

the Estate retained “an ownership interest in the partnership’s bitcoin, and any

assets traceable to them.” Id. The Magistrate Judge concluded that the Estate and

W&K had been prejudiced, and that a lesser sanction was not adequate to punish

or to ensure future compliance with the Court’s Orders.” Id. at 27. Minutes after

the order was entered, Wright confirmed the veracity of the Magistrate Judge’s

findings in an interview with journalist Brendan Sullivan. There, Wright indicated



                                           9
USCA11 Case: 22-11150        Document: 37       Date Filed: 08/26/2022    Page: 21 of 67



he could in fact access his bitcoin but had elected not to, so that he would not “tank[]

the market.” ECF [332], at 17.

      Shortly thereafter, Wright objected to the sanctions order. Although the

District Court “agree[d] with [the Magistrate Judge’s] credibility findings relating

to [Wright],” ECF [373] at 15, and agreed that sanctions were warranted, it vacated

the Deemed Facts part of the sanctions and instead left the sanction at just payment

of attorney’s fees associated with the discovery issue.         The Court agreed to

“indulge” Wright in yet another new story he concocted in his objection about an

unknown bonded courier with the last key slice, and provided him until February 3,

2020 to “file a notice indicating whether or not this mysterious figure has appeared

from the shadows and whether [Wright] now has access to the last key slice needed

to unlock the encrypted file.” Id. at 22. The Court told Wright it would leave

sanctions at just attorney’s fees if the courier arrived, but if not, it would “inform

the jury of the [Wright]’s failure to disclose” the evidence. Id at 22.

      Just four days later, Wright informed the Court “that a third party ha[d]

provided the necessary information and key slice to unlock the encrypted file . . . .”

ECF [376].

      But the Notice of Compliance was y e t another egregious misrepresentation

directly to the Court. No “key slice” had been turned over as Wright had claimed—

instead Wright’s wife supposedly requested a copy of his bitcoin holdings from a



                                           10
USCA11 Case: 22-11150         Document: 37       Date Filed: 08/26/2022    Page: 22 of 67



Kenyan lawyer, who provided her with a new encrypted file that contained a list

of Wright’s bitcoin holdings. See ECF [404-1], at 4-7; [507-8]. The notice was thus

a clear attempt to deceive the Court into believing that the “mysterious figure” had in

fact “appeared from the shadows” and thus further sanctions were not warranted.

       Perhaps as troubling, as explained in detail in ECF [507] and [541], this new

list was also a forgery. Indeed, even Wright subsequently disavowed this list at

trial. See generally ECF [843] Trial Tr. Day 7 at 152-154:19.

       Wright’s incessant forgeries and perjury deprived the Estate of evidence it

needed to prove its claims, and Wright’s only repercussion was to pay less than

$166,000 in attorneys’ fees.       And, as set forth above, Wright’s misconduct

continued even after the District Court vacated the non-monetary sanctions

imposed by the Magistrate Judge.

       This Court cannot allow a litigant to flout the rules, perjure himself, submit

forged documents to the courts and litigants, time and time again, all in an effort to

avoid liability for billions of dollars in claims. It is a sad, but inescapable, conclusion

that Wright has determined his misconduct is worth it as he continues to this day to

make a mockery of the process. Wright must be made to understand that perjury,

forgery, and purposeful obfuscation are not “efficient” breaches.




                                            11
USCA11 Case: 22-11150         Document: 37       Date Filed: 08/26/2022   Page: 23 of 67



      C. Wright Repeatedly Breached the Motion in Limine Order To
         Prejudice the Estate’s Partnership Claim.

      Before trial, the Estate correctly surmised that Wright would try to smear the

relationship between Ira Kleiman (“Ira”), the personal representative of the Estate,

and his brother, David, to paint Ira as an undeserving plaintiff. Of course, this

relationship was irrelevant to any issue in the case. Accordingly, the Estate moved

before trial to preclude Wright from presenting evidence regarding Ira’s and David’s

relationship.

      The District Court granted that motion and rendered a clear, definitive in

limine order excluding evidence relating to the relationship. Notwithstanding this

clear order, Wright intentionally violated it at least 10 times (despite several

sustained objections to improper questions), thereby severely prejudicing the Estate.

      Despite the clarity of the Court’s order, Wright violated it multiple times during

the trial. Wright’s counsel first tried to inject the sibling relationship issue in opening

statements, arguing to the Court that the Estate had opened the door to its introduction,

which the Court rejected. ECF [837] Trial Tr. Day 1 at 210:16–211:21. Undeterred,

Wright’s counsel then asked Ira Kleiman twice in the very first moments of his cross-

examination (his fourth and fifth questions) to confirm that despite Dave’s death in

2013, a Thanksgiving dinner in 2009 was the “last day [Ira] saw his brother in life.”

While the Estate immediately objected to both questions, the objections were

overruled and the Estate’s request for sidebar denied without explanation:

                                            12
USCA11 Case: 22-11150        Document: 37     Date Filed: 08/26/2022   Page: 24 of 67



             Q. All right. You spoke very little -- if I remember

             correctly, the only thing you commented on in the period

             between 2008 and April of 2013 is Thanksgiving Day

             2009; isn’t that right?

             A. Yes.

             Q. Okay. And that was a -- that was November 26th, 2009,

    right?

             A. Correct.

             Q. Okay. And you know that date because that’s the

             last day you saw your brother in life, correct?

             MR. BRENNER: Objection. May we approach?

             MR. RIVERO: Judge, I’ll --

             THE COURT: The objection is overruled at this point.

             BY MR. RIVERO:

             Q. Sir?

             A. I’m not exactly certain if that’s the very last day. But

             that’s the -- I guess the best memory of last seeing him. I

             may have seen him other times after that, but I just don’t

             recall it.

             Q. Sir, your testimony under oath and your best



                                         13
USCA11 Case: 22-11150         Document: 37       Date Filed: 08/26/2022   Page: 25 of 67



              memory is that that was the last day you saw your

              brother in life, is it not?

              MR. BRENNER: Same objection, Your Honor.

              THE WITNESS: Like I said, I’m not certain that that was

      --

              THE COURT: The objection is noted. It’s overruled at

      this point.

              THE WITNESS: I could have possibly seen him other

      days.

ECF [839] Trial Tr. Day 3 at 149:22–150:24 (emphasis added).

      The cross examination of Ira continued the next day. Wright’s counsel circled

back to this forbidden issue twice more, asking Ira whether Thanksgiving 2009 was

the last time he saw David in person. Only then was a renewed objection to the

question sustained. ECF [840] Trial Tr. Day 4 at 23:12–24:1 (emphasis added). The

need for the Estate to object three times to this issue that the Court had already

clearly ruled on, and thereby highlight any perceived issue in the sibling relationship,

was exactly what the motion in limine and resulting order was meant to prevent.

      Later that same day, Wright’s counsel again violated the order, asking Ira a

question the Court expressly forbid:

              Q. You never saw him in the hospital?



                                            14
USCA11 Case: 22-11150       Document: 37      Date Filed: 08/26/2022    Page: 26 of 67



             A. No.

ECF [840] Trial Tr. Day 4 at 84:1–2 (emphasis added); compare ECF [623], at 16

(“Indeed, whether Ira Kleiman visited his brother at the hospital . . . has limited

probative value but substantial capacity to cause undue prejudice.”).

      Wright used every opportunity to suggest to the jury, in violation of the motion

in limine order, that there was an estrangement between David and Ira. For example,

although probative of no claim or defense in the case, Wright had Ira confirm that

he didn’t find out that Dave had died until days after he’d passed away and his body

has been found. Further demonstrating Wright’s intentional disregard of the court’s

in limine order was their failure to redact forbidden portions of exhibits. For

example, Wright specifically highlighted portions of an exhibit the Court held

violated its order on the motion in limine regarding the brothers’ relationship, and

later ordered that portion redacted (see ECF [828-3]):

             Q. Mr. Kleiman --

             MR. RIVERO: Mr. Shah, if you could highlight the

             first two sentences of Paragraph 3.

             BY MR. RIVERO:

             Q. “Ira is David's brother. He had limited contact and

             personal knowledge as to David’s financial affairs

             throughout David's life.” Correct?



                                         15
USCA11 Case: 22-11150       Document: 37       Date Filed: 08/26/2022   Page: 27 of 67



             A. Correct.

             MR. BRENNER: Your Honor, I have to ask to approach.

             THE COURT: I’m sorry?

             MR. BRENNER: I have to ask to approach, Your Honor,

             and ask that it be taken down during the sidebar.

             THE COURT: All right. If we can take it down for a

      moment.

ECF [840] Trial Tr. Day 4 at 173:13–25 (emphasis added). On sidebar, the Court

stated that such information “certainly talks about the sibling relationship” and that

it “was directly what the Court ruled upon with regard to the motion in limine.” ECF

[840] Trial Tr. Day 4 at 174:20-23. Wright also showed the jury—unredacted—

portions of the exhibit stating that “Ira never saw [David] at the hospital” and

“may have seen David one time when David took a leave from the hospital,”

both of which were later redacted as inconsistent with the Court’s order. Compare

D008 (emphasis added) with ECF [828-3].

      The next day, Wright’s counsel one again took the opportunity to insinuate

improperly that Ira did not speak with David as frequently as a deserving brother

should during the last year of David’s life:

             BY MR. RIVERO:

             Q. Mr. Kleiman, before I come back to these email



                                          16
USCA11 Case: 22-11150       Document: 37      Date Filed: 08/26/2022   Page: 28 of 67



             exchanges between your brother and Craig Wright, I just

             want to talk with you about one other subject and that is

             your telephone communications with David Kleiman.

             Would you agree with me that between March 12 and

             April 7th, 2013, on the cell phone at least, you spoke

             with David Kleiman six times?

             A. What time again?

             Q. This is between -- this is in the last year, the last 13

             months of your brother’s life.

             MR. BRENNER: Objection, Your Honor. Subject to

             court order.

             THE COURT: The objection is sustained.

             MR. RIVERO: I’ll move on.

ECF [841] Trial Tr. Day 5 at 68:7–21 (emphasis added).

      The misconduct was not constrained to the cross-examination of Ira Kleiman

because counsel also asked David Kleiman’s friend, Patrick Paige, about whether he

had heard from David about Ira over the course of the relationship between Paige

and David:

             Q. So you knew David Kleiman for about 20 years.

             A. Yeah. I believe it was about 20 years.



                                         17
USCA11 Case: 22-11150          Document: 37    Date Filed: 08/26/2022   Page: 29 of 67



                Q. During that time, how many times did you hear of

                Ira Kleiman?

                A. I can’t really recall of any offhand, other than he

                had a brother.

ECF [838] Trial Tr. Day 2 at 184:19–24 (emphasis added).

      Unlike Wright, the Estate was careful not to introduce evidence about the

sibling relationship, which would have revealed that the relationship Wright tried to

paint as estranged was a multifaceted relationship with strong positive aspects as

well. For example, Ira was very often in touch with David while the latter was in

the hospital, including more than 100 phone calls between the two just during

David’s final hospitalization. See, e.g., P721. And the Estate did not highlight how

David’s decision to make Ira the sole beneficiary of his estate, his personal

representative, and his healthcare proxy likewise reflected positively on the brothers’

relationship.     See JE22 at 3 (last will and testament naming Ira as personal

representative of the estate and sole beneficiary); D099 at 787; D102 at 25, 173

(“According to Mr. Kleiman, his brother Ira is his health care surrogate.”), 184

(same), 274 (“Mr. Kleiman appointed his brother Ira Kleiman, as his health care

surrogate.”), 277. The Estate was punished, in effect, for complying with the Court’s

order in not introducing evidence of the brothers’ relationship while Wright




                                          18
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 30 of 67



disregarded that ruling.5

      These violations were salient, intentional, and not subtle. For example, the

sibling relationship was extensively explored in media coverage of the trial. Yahoo

News, for example, reported that “Andres Rivero, lead counsel for Wright’s defense,

focused his cross-examination of Ira on his strained relationship with his brother

Dave before the latter’s death, in an attempt to depict Ira as purely motivated by

financial gain.” See Cheyenne Ligon, Day 4 of Kleiman v. Wright: Craig Wright’s

Testimony Delayed, Yahoo!, Nov. 4, 2021, https://www.yahoo.com/now/day-4-

kleiman-v-wright-235110145.html.

      Wright’s inappropriate suggestions about the sibling relationship was noticed

by other media as well. One article related that “despite living only a few miles

apart, that Thanksgiving dinner was the last time the brothers ever saw each other

face-to-face. . . . Ira’s disinterest in Dave’s welfare seems to have been matched only

by his disinterest in (a) preserving the integrity of Dave’s digital devices . . . .”

Steven Stradbrooke, Ira Kleiman Serves Up a Bitcoin Turkey in Wright Lawsuit

Testimony, Coingeek, Nov. 5, 2021, https://coingeek.com/ira-kleiman-serves-up-a-




5
  This left Ira with the Hobson’s choice whether to try to correct the record even
though doing so would elevate an irrelevant issue that was designed to prejudice
the Estate’s claim.

                                          19
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022     Page: 31 of 67



bitcoin-turkey-in-wright-lawsuit-testimony/.6 Another article suggested that cross-

examination of Ira “showed that [he] did not really know his brother Dave that well

and that he had little to no knowledge of the matters going on in Dave’s life until

after he passed away.” Patrick Thompson, Kleiman v Wright Day 4 Recap: What

Ira   Kleiman    Knew     About   Dave      Kleiman,    Coingeek,       Nov.   5,   2021,

https://coingeek.com/kleiman-v-wright-day-4-recap-what-ira-kleiman-knew-about-

dave-kleiman/. And it quoted a portion of an exhibit specifically excluded by the

Court, suggesting the exhibit was visible to the jury for long enough for a juror (like

the reporter) to copy down the prejudicial portion. Id. (“‘He [Ira] had limited contact

and personal knowledge of David’s financial affairs throughout Dave’s life,’ wrote

Ira Kleiman’s lawyer Joseph Karp in a letter to the Director of Treasury.”). Yet

another article explained that “the defense” had “emphasized” in cross-examining

Ira “that Ira did not actually know much about critical issues or issues of importance

in his brother’s life.” Patrick Thompson, Ira Kleiman Shows Up on Day 3 of

Kleiman v Wright Trial, Coingeek, Nov. 4, 2021, https://coingeek.com/ira-kleiman-

shows-up-on-day-3-of-kleiman-v-wright-trial/.       And another article stated that

“despite Dave’s health declining steeply from then until his death in 2013, Ira never



6
  The sibling relationship was also highlighted in videos released by Coingeek about
the       trial.      Coingeek,       Kleiman        vs       Wright,      YouTube,
https://www.youtube.com/playlist?list=PLTpDsXEwfAQqeKnLhhKMq4blGCqX_
ecoY (last visited Jan. 1, 2022).


                                          20
USCA11 Case: 22-11150         Document: 37     Date Filed: 08/26/2022   Page: 32 of 67



visited Dave in hospital.” Jordan Atkins, Satoshi Nakamoto Trial, the Biggest

Revelations From Week 1 of Kleiman v Wright, Coingeek, Nov. 6, 2021,

https://coingeek.com/satoshi-nakamoto-trial-the-biggest-revelations-from-week-1-

of-kleiman-v-wright/.

       Following trial, Law360 secured an interview with one of the 10 jurors who

served on the case. That interview confirmed the obvious, confirmed what the Estate

was concerned about all along, and confirmed that the District Court was correct in

its pre-trial order excluding these highly prejudicial comments because they

impacted the consideration of the evidence and affected the verdict. See Carolina

Bolado, No Proof Bitcoin ‘Inventor’ Owed Friend, Juror Tells Law360, Law360,

Dec.    23,    2021,    https://www.law360.com/articles/1451020/no-proof-bitcoin-

inventor-owed-friend-juror-tells-law360. The article explained that Ira’s failure to

visit Dave in the hospital directly affected the jury’s decision: “’In three years he

didn’t go to the hospital?’” the juror said. ‘That clouded my view as far as what the

actual record stated.’” Id.

       In light of the prejudice from the multiple violations of the in limine order, as

expressly shown in the Law360 and other press articles, the Estate moved for a new

trial. ECF [861]. In his opposition, Wright did not deny that he sought to introduce

evidence excluded by the order, but instead argued there was no “improper purpose”

for such actions. ECF [869] at 6 n.9.



                                          21
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 33 of 67



      The District Court denied the motion. First, even though the Estate did

successfully object to several of Wright’s efforts to violate the order, and even

though the Court denied the Estate’s request for a sidebar during one of Wright’s

first such attempts, the Court held that the Estate waived the issue because it “failed

to object at trial to many of the questions with which it now takes issue” and “did

not move to strike any testimony elicited regarding the brothers’ sibling relationship,

nor did it request a curative instruction at any point during the lengthy 21-day jury

trial.” ECF [887] at 6-7. Then, the Court concluded she was not persuaded that the

“purported misconduct was so prejudicial as to warrant a new trial,” because “Ira

Kleiman voluntarily testified that he and David Kleiman did not discuss David’s

lengthy hospitalizations or serious health conditions,” the juror interviewed in the

Law360 article said the Plaintiffs “never proved to me without a shadow of a doubt

that he was involved in bitcoin in any way,” and Wright “never urged the jury at any

point during trial, let alone during closing argument, to decide the Estate’s claims on

an improper basis [and] the jury was properly instructed that their decision must be

based on the actual evidence presented and they must not be influenced by any

sympathy or prejudice toward against any party.” ECF [887] at 7-9.




                                          22
USCA11 Case: 22-11150       Document: 37      Date Filed: 08/26/2022   Page: 34 of 67



                            STANDARD OF REVIEW

      A trial court’s jury instructions are reviewed “simultaneously de novo and

deferential” to “determine whether they misstate the law or mislead the jury.”

Alabama Aircraft Indus., Inc. v. Boeing Co., 2022 WL 433457, at *7 (11th Cir. Feb.

14, 2022); Simmons v. Bradshaw, 879 F.3d 1157, 1162 (11th Cir. 2018) (quotation

marks omitted). If an instruction does not accurately reflect the law, this Court will

reverse and order a new trial so long as there is substantial doubt as to whether the

jury was properly guided, id., or whether the instructions “materially prejudiced” the

appellant. SEC v. Yun, 327 F.3d 1263, 1282 (11th Cir. 2003).

       Also, “[i]nterpretation of the Federal Rules of Civil Procedure presents a

question of law subject to de novo review[.]” Mega Life & Health Ins. Co. v.

Pieniozek, 585 F.3d 1399, 1403 (11th Cir. 2009); see Devaney v. Cont’l Am. Ins.

Co., 989 F.2d 1154, 1159 (11th Cir. 1993) (“We review de novo [a] claim[] . . . that

the [district] court applied an erroneous legal standard under Rule 37.”); Fuente

Cigar, Ltd. v. Roadway Exp., Inc., 961 F.2d 1558, 1561 (11th Cir. 1992) (reviewing

de novo and vacating trial court’s legal conclusion reversing magistrate judge’s

order). “In interpreting a federal rule, [this Court] examine[s] its text and give[s]

effect to its plain meaning.” In re Equifax Inc. Customer Data Sec. Breach Litig.,

999 F.3d 1247, 1283 (11th Cir.). “Application of an incorrect legal standard is an




                                         23
USCA11 Case: 22-11150        Document: 37       Date Filed: 08/26/2022   Page: 35 of 67



abuse of discretion.” Lizarazo v. Miami-Dade Corr. & Rehab. Dep’t, 878 F.3d 1008,

1011 (11th Cir. 2017) (quotation and alteration omitted).

      The Court reviews for abuse of discretion both a trial court’s denial of a

motion for a new trial based on counsel’s misconduct during trial and a trial court’s

denial of discovery sanctions. See Vinson v. Koch Foods of Alabama, LLC, 12 F.4th

1270, 1277 (11th Cir. 2021) (counsel misconduct at trial); Flury v. Daimler Chrysler

Corp., 427 F.3d 939, 943 (11th Cir. 2005) (denial of discovery sanctions).

                            SUMMARY OF ARGUMENT

      The District Court erred on an important issue of law by instructing the jury

on Florida partnership law based on authorities applying the old, pre-1996 version

of the law, which required five specific factual findings before a partnership could

be found. In 1996, Florida adopted the Revised Uniform Partnership Act, which

abolished the five-factor test and replaced it with a totality of the circumstances test,

under which no single factor is dispositive, and the lone fact that an alleged partner

has “receive[d] a share of the profits of a business” creates a rebuttable presumption

that that person is “a partner in the business.” This error greatly prejudiced the Estate

and warrants a new trial.

      The District Court also erred by vacating the issue sanctions imposed by the

Magistrate Judge, even though the District Court fully affirmed the Magistrate

Judge’s findings, all based on clear and convincing evidence, that Wright’s



                                           24
USCA11 Case: 22-11150       Document: 37      Date Filed: 08/26/2022   Page: 36 of 67



testimony was “ intentionally false,” willful, in bad faith, and “part of a sustained

and concerted effort to impede discovery, all of which resulted in prejudice to the

Estate’s ability to prove its case.” The District Court misconstrued Rule 37, Fed. R.

Civ. Pro., and this Court’s decisions, which all make clear that issue sanctions are

appropriate where, as here, the misconduct is relevant to a claim or defense. The

District Court nevertheless held that the sanctions must “specifically relate to the

discovery issue that was pending,” which is far too narrow and inconsistent with

Rule 37 and the decisions in Serra Chevrolet, Inc. v. General Motors Corp., 446

F.3d 1137 (11th Cir. 2006), and Insurance Corp. of Ireland v. Compagnie des

Bauxites de Guinee, 456 U.S. 694 (1982), The issue sanctions should be reinstated

and the case remanded for a new trial.

      Finally, the District Court also committed reversible error by denying a new

trial despite Wright’s multiple, intentional violations of the in limine Order, which

clearly and improperly influenced the jury’s dispassionate consideration of the case,

the very reason the in limine Order was entered. The clear, definitive in limine Order

specifically excluded evidence of the sibling relationship between Ira and David

Kleiman. It was intended to preclude Wright’s strategy of arguing to the jury that Ira

was a “bad brother” who was unworthy of inheriting the billions stolen by Wright

from his brother. Wright intentionally violated this order at least 10 times, despite

several sustained objections, severely prejudicing the Estate.



                                         25
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 37 of 67



                                    ARGUMENT
   I.      The District Court erroneously instructed the jury on partnership
           formation.

        The centerpiece of the Estate’s claims was that David Kleiman and Wright

had formed a partnership to mine bitcoin and develop certain intellectual property,

and that Wright misappropriated those assets after David’s death in 2013. The Court

erroneously instructed the jury on the elements of a partnership, resulting in an

adverse verdict for the Estate.

        In 1995, the Florida legislature enacted the Revised Uniform Partnership Act

(“RUPA”), Fla. Stat. §§ 620.8001 et seq., which substantially changed the law on

the formation of partnerships. Over the Estate’s objection, ECF [851] Day 15 Trial

Tr. at 9-10, the District Court incorrectly instructed the jury, ECF [800-1] at 8-10, to

use the elements of partnership formation that existed under the prior law, which had

much more stringent proof requirements. Thus, the Estate is entitled to a new trial,

because the instructions did not accurately reflect the law, caused material prejudice

to the Estate, and at the least induced “a substantial and ineradicable doubt as to

whether the jury was properly guided in its deliberations.” Simmons v. Bradshaw,

879 F.3d 1157, 1162 (11th Cir. 2018).

         The Court’s partnership instructions were based on pre-RUPA law, which

required a party alleging the existence of a partnership to prove that all of five

specific elements were “known and agreed to” by each partner: (1) a community of


                                          26
USCA11 Case: 22-11150         Document: 37       Date Filed: 08/26/2022    Page: 38 of 67



interest in the performance of the common purpose, (2) joint control or right of

control, (3) a joint proprietary interest in the subject matter, (4) a right to share in the

profits, and (5) a duty to share in any losses which may be sustained. Kislak v.

Kreedian, 95 So.2d 510, 515 (Fla. 1957); Pinnacle Port Cmty. Ass'n., Inc. v.

Orenstein, 872 F.2d 1536, 1539 (11th Cir. 1989). The District Court instructed the

jury two times that it could find for the Estate only if it found “each of these

elements” had been proven. ECF [800-1] at 8-9.7

       These instructions were incorrect because RUPA changed the prior law by

substituting a simpler rule which, with limited exceptions, provides that “the

association of two or more persons to carry on as co-owners a business for profit

forms a partnership, whether or not the persons intend to form a partnership.” Fla.

Stat. § 620.8202(1).      Under RUPA, mere proof that an alleged partner has

“receive[d] a share of the profits of a business” alone creates a rebuttable

presumption that that person is “a partner in the business,” subject to certain

exceptions not applicable here. Id. § 620.8202(3)(c). See official comment 3 to

RUPA § 202 (“The sharing of profits is recast as a rebuttable presumption of a

partnership, a more contemporary construction, rather than as prima facie evidence

thereof”).8 Thus, under its plain statutory language, RUPA does not oblige a plaintiff


7
  The last two elements were combined in the District court’s instruction.
8
  Available at http://www.federal-
litigation.com/_01%20Hamed%20Docket%20Entries/RUPA%20Text.pdf.

                                            27
USCA11 Case: 22-11150       Document: 37      Date Filed: 08/26/2022   Page: 39 of 67



to prove any of the five Kislak factors, let alone all five of them as the Court

instructed the jury here. See Rafael J. Roca, P.A. v. Lytal & Reiter, Clark, Roca,

Fountain & Williams, 856 So.2d 1, 6 (Fla. 4th DCA 2003) (finding sufficient

evidence of a RUPA partnership without mention of the five-factor test).

      Indeed, the current Florida pattern instruction on partnership makes no

mention of any “required” Kislak elements. It simply states: “A partnership exists

when two or more persons join together or agree to join together in a business or

venture for their common benefit, each contributing property, money or services and

each having an interest in any profits.” Fla. Std. Jury Instr. in Civil Case 401.14(d)

(Feb. 1, 2018).

      This is fully consistent with RUPA, which implemented a “totality of facts

and circumstances” test, and “since every business relationship is unique, no single

fact or circumstance can operate as a conclusive test for the existence of a

partnership, particularly when the parties have dealt casually with each other.”

Reilly v. Meffe, 6 F. Supp. 3d 760, 770, 772 (S.D. Ohio 2014). While the “common

law [had] required proof of all five factors to establish the existence of a

partnership,” RUPA “contemplates a less formalistic and more practical approach to

recognizing the formation of a partnership,” with the previously required partnership

factors now just “factors to consider.” Ingram v. Deere, 288 S.W.3d 886, 895–96

(Tex. 2009). The five factors are now merely “indicia” of partnership, and “they are



                                         28
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 40 of 67



not all necessary to establish a partnership relationship, and no single indicium of

co-ownership is either necessary or sufficient to prove co-ownership.”            In re

KeyTronics, 744 N.W.2d 425, 441 (Neb. 2008).

      In overruling the Estate’s objection and instructing the jury the Estate was

required to prove all five Kislak factors to establish a partnership, the District Court

apparently accepted Wright’s argument that such an instruction was required by

Williams v. Obstfeld, 314 F.3d 1270 (11th Cir. 2002) and Dreyfuss v. Dreyfuss, 701

So. 2d 437, 438-39 (Fla. 3d DCA 1997). But although these cases were decided

after RUPA became law on January 1, 1996, both involved alleged pre-RUPA

partnerships, and RUPA was not mentioned in either opinion. These cases are

therefore inapplicable here as RUPA explicitly “does not affect any action or

proceeding commenced or any right accrued before January 1, 1996,” Fla. Stat. §

620.9902, whereas the conduct here all occurred post enactment of RUPA.

      In Obstfeld, the appellant unsuccessfully argued that the parties “were either

partners or joint venturers in the operation of South Star,” a partnership allegedly

formed in 1993. 314 F.3d at 1273-75. The appellant noted that RUPA “was enacted

in 1995, well after the alleged conduct in this case.” Appellant’s Reply Br. at 9.

Similarly, the putative partner in Dreyfuss alleged a 1982 oral partnership

agreement, and the suit was filed 11 years later, before RUPA was enacted. 701 So.

2d at 438-39. Accordingly, Obstfeld and Dreyfuss involved pre-RUPA law, and



                                          29
USCA11 Case: 22-11150         Document: 37      Date Filed: 08/26/2022   Page: 41 of 67



neither opinion supports the District Court giving the “five required factors”

instruction in this case.

         The District Court’s instruction is plainly inconsistent with RUPA’s statutory

language and is not supported by relevant case law. The instruction obviously

prejudiced the Estate by requiring proof of all five factors, even though none of the

five is essential. Given the evidence adduced at trial and as set forth in the Factual

Background section above, at the very least, there is “substantial and ineradicable

doubt” whether the Court’s erroneous instruction prejudiced the Estate. Simmons,

879 F.3d at 1162. Accordingly, this Court should reverse the judgment against the

Estate and remand for a new trial on the Estate’s claims.

   II.      The District Court erroneously vacated the Magistrate Judge’s issue
            sanctions.

         As set forth above, the Magistrate Judge found, and the District Judge

affirmed, that Wright had “intentionally submitted fraudulent documents to the

Court, obstructed a judicial proceeding, and gave perjurious testimony. ECF [277],

at 28. Both judges agreed Wright’s testimony” was “intentionally false,” and “part

of a sustained and concerted effort to impede discovery, all of which resulted in

prejudice to the Estate’s ability to prove its case. ECF [277], ECF [373]. The

Magistrate made the following findings:




                                           30
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 42 of 67



         “Dr. Wright’s story [about his inability to identify his bitcoin holdings]

          was not supported by other evidence in the record, it defies common sense

          and real-life experience.” … and is “inconceivable.” ECF [277] at 19.

         “There was substantial credible evidence that documents produced by Dr.

          Wright to support his position in this litigation are fraudulent. There was

          credible and compelling evidence that documents had been altered.” ECF

          [277] at 20.

         “The totality of the evidence in the record does not substantiate that the

          Tulip Trust exists. Combining these facts with my observations of Dr.

          Wright’s demeanor during his testimony, I find that Dr. Wright’s

          testimony that this Trust exists was intentionally false.” ECF [277] at 21.

         “Ultimately, Dr. Wright’s claim of inability to comply with the Court’s

          Orders relies on the existence of an encrypted file in the Tulip Trust

          containing the information necessary to reconstruct Dr. Wright’s bitcoin

          holdings. I find that this file does not exist…. After observing Dr. Wright’s

          demeanor and the lack of any other credible evidence in the record that this

          file exists, I find that a preponderance of the evidence9 establishes that no



9
   Magistrate Judge Reinhart also found this to be so by clear and convincing
evidence. ECF [ 277] at 21 n.11 (“Although I am only required to make this finding
by a preponderance of the evidence, I find clear and convincing evidence to support
it.”).

                                          31
USCA11 Case: 22-11150        Document: 37     Date Filed: 08/26/2022   Page: 43 of 67



          such file exists and that Dr. Wright’s testimony was intentionally false.”

          ECF [277] at 24.

         “In sum, after days of testimony, multiple discovery hearings, and lengthy

          pleadings, the sole evidence supporting Dr. Wright’s claim that he cannot

          comply with the Court’s Orders is the uncorroborated word of Dr. Wright.

          That word is insufficient to meet his evidentiary burden. Moreover, the

          totality of the evidence, including a negative inference drawn from Dr.

          Wright’s incredible testimony and use of fraudulent documents, is more

          than sufficient to meet Plaintiffs’ burden.” ECF [277] at 26.

      Based on these findings, and because the discovery at issue went to the core

of the Estate’s partnership claims as it aimed to identify the specific bitcoin the

Estate alleged had been mined by the alleged partnership, the Magistrate Judge

appropriately levied certain non-monetary sanctions, designed to ameliorate the

prejudice caused to Plaintiffs.10 Specifically, the Magistrate Judge deemed the

following facts established (the “Deemed Facts”):




10
  The Magistrate Judge also awarded reasonable expenses under Rules 26(c)(3)
and 37(a)(5)(A), which the District Court affirmed. ECF [373] at 18, 23. Further,
“[t]o conform to the [] established facts,” the Magistrate Judge struck several of
Wright’s affirmative defenses. ECF [277] at 16, 29. Although the District Court
overruled the Magistrate Judge’s order striking the defenses, she later granted
summary judgment and dismissed those same defenses. ECF [615] at 77-79, 86-
87, 90-92.

                                         32
USCA11 Case: 22-11150       Document: 37       Date Filed: 08/26/2022   Page: 44 of 67



      (1) Dr. Wright and David Kleiman entered into a 50/50 partnership to

          develop Bitcoin intellectual property and to mine bitcoin; (2) any

          Bitcoin-related intellectual property developed by Dr. Wright prior

          to David Kleiman’s death was property of the partnership; (3) all

          bitcoin mined by Dr. Wright prior to David Kleiman’s death (“the

          partnership’s bitcoin”) was property of the partnership when mined;

          and (4) Plaintiffs presently retain an ownership interest in the

          partnership’s bitcoin, and any assets traceable to them. ECF [277]

          at 16, 28.

      The imposition of this part of the sanctions was clearly warranted as the

Magistrate Judge specifically found by “clear and convincing evidence” that

“Wright’s conduct [] prevented [the Estate] from obtaining evidence that the

Court found relevant to [its] claim that Dr. Wright and David Kleiman formed

a partnership to develop Bitcoin technology and to mine bitcoin,” and that

“Wright’s non-compliance with the Court’s Order [wa]s willful and in bad

faith[.]” Id. at 27. As the Magistrate Judge explained, “no conduct is more

antithetical to the administration of justice.” Id. at 28. Accordingly, he found

that the Deemed Facts were “necessary to achieve the remedial and punitive

purposes of Rule 37. No lesser sanction would suffice.” Id.




                                          33
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 45 of 67



      Wright objected to the District Judge that there was “absolutely no basis” for

sanctions, that the Estate was not prejudiced, and that the issue sanctions violated

due process. See ECF [311]. The District Judge rejected the former, agreeing with

the Magistrate Judge that Wright “willfully obstructed th[e] [discovery] process”

and “prevented the [Estate] from obtaining evidence” that the Court found “directly

relevant to [its] claims.” ECF [373] at 18, 21, 22. The District Judge nonetheless

agreed with Wright that the issue sanctions violated his constitutional due process

rights and vacated them because, according to the District Judge, the Deemed Facts

“[we]re not specifically related to the particular discovery abuse at issue.” Id. at 18-

20. That was error.

   A. The District Judge misapplied Supreme Court and Eleventh Circuit
      sanctions precedent and applied an erroneous legal standard that
      conflicts with Rule 37.

      The District Judge interpreted this Court’s decision in Serra Chevrolet, Inc. v.

General Motors Corp., 446 F.3d 1137 (11th Cir. 2006), and Insurance Corp. of

Ireland v. Compagnie des Bauxites de Guinee, 456 U.S. 694 (1982), to create a

prohibition on issue sanctions unless they “specifically relate to the discovery issue

that was pending,” or “cure” the discovery abuse by establishing the specific facts at

issue in the discovery ordered by the court. Id. at 19-20. But neither this Court nor

the Supreme Court have imposed any such limitation on issue sanctions. To the




                                          34
USCA11 Case: 22-11150       Document: 37      Date Filed: 08/26/2022   Page: 46 of 67



contrary, such a limitation misreads precedent and violates the text of Rule

37(b)(2)(A)(i) itself.

      In Serra Chevrolet, this Court recognized the Supreme Court’s admonition

that due process simply requires that sanctions “are both ‘just’ and ‘specifically

related to the particular “claim” which was at issue to provide discovery.” 446 F.3d

at 1151 (quoting Ins. Corp., 456 U.S. at 707). That latter requirement—that a

sanction must be specifically related to a particular claim at issue in the order to

provide discovery—simply “reflects the rule of Hammond Packing [Co. v. State of

Arkansas, 212 U.S. 322 (1909)]” that a party’s non-compliance with a discovery

order creates a “presumption that the refusal to produce evidence material to the

administration of due process was but an admission of the want of merit in the

asserted [claim or] defense.” Ins. Corp., 456 U.S. at 705 (quoting Hammond, 212

U.S. at 350-51). And as the Supreme Court explained, “Rule 37(b)(2)(A) itself

embodies” that requirement. Ins. Corp., 456 U.S. at 705 & 705 n. 11 (advisory

committee notes to Rule 37 state that the Rule’s provisions find support in

Hammond). In other words, “[a] proper application of Rule 37(b)(2) will, as a matter

of law” satisfy due process; nothing more is required. Id. at 706. Indeed, the text of

Rule 37(b)(2) expressly requires that issue sanctions for not obeying a discovery

order must be both “just,” Fed R. Civ. P. 37(b)(2)(A), and “that the matters embraced




                                         35
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 47 of 67



in the [discovery] order or other designated facts” be related to “the prevailing

party[’s] claims” in the action. Fed. R. Civ. P. 37(b)(2)(A)(i).

      Applying Insurance Corp., this Court in Serra Chevrolet vacated partial

terminating sanctions striking affirmative defenses imposed pursuant to Rule

37(b)(2)(A)(iii) because the district court “fail[ed] to give any justification for its

decision” and the defenses “had no apparent relationship with the discovery abuse”;

the defenses concerned “earlier litigation in the state courts,” not any claim at issue

in the federal action. Id. at 1152. Serra Chevrolet did not create any new prohibition

on the imposition of sanctions or otherwise place limitations on Rule 37(b)(2).

Rather, as this Court later explained, Serra Chevrolet, like Insurance Corp. and the

text of Rule 37(b)(2) itself, just “requires that a sanction have some rationale and

some connection to the sanctioned conduct.” Yaffa v. Weidner, 717 F. App’x 878,

885 (11th Cir. 2017).

      Here, the District Judge erroneously interpreted Serra Chevrolet to require

that issue sanctions must “specifically relate to the discovery issue that was pending

before the [court].” ECF [373] at 20. Not so. As explained supra, the correct legal

standard—as set forth by the Supreme Court, this Court, and the text of Rule

37(b)(2)(A)—is whether the sanction specifically relates to the claim (or defense) to

which the discovery ordered was related, not the discovery issue itself. Other

Circuits likewise hold that the correct standard just requires the sanction to relate to



                                          36
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 48 of 67



the claim or defense that the discovery sought was relevant. See, e.g., Fencorp Co.

v. Ohio Kentucky Oil Corp., 675 F.3d 933 (6th Cir. 2012) (affirming judgment

against defendants on preemption defense where they “disobeyed three separate

discovery requests for documents related to this defense”) (emphasis added); Gen.

Ins. Co. of Am. v. E. Consol. Utilities, Inc., 126 F.3d 215, 220-21 (3d Cir. 1997)

(“[A] court, under Rule 37(b)(2)(A), cannot direct that designated facts be taken as

true when those facts are unrelated to the claim or defense with respect to which the

discovery is being sought.”) (emphasis added); Chilcutt v. United States, 4 F.3d

1313, 1321 (5th Cir. 1993) (affirming sanction establishing plaintiffs’ liability

claims where defendant failed to produce accident log because had the log been

produced “plaintiffs would have been able to investigate th[e] accidents and would

likely have strengthened their liability allegations”).

      Moreover, applying the District Judge’s erroneous legal standard that issue

sanctions “relate to the discovery issue that was pending,” ibid., would abrogate Rule

37(b)(2)(A)(i)’s text, which provides that facts “other” than “matters embraced in

the [discovery] order” may be deemed established. Rule 37(b)(2)(A)(i)’s text itself

thus renders incorrect the District Court’s assertion that the only permissible issue

sanction would be “the amount of bitcoin owned by [Wright],” which was discovery

that the Magistrate Judge had ordered Wright to produce. ECF [373] at 20. Likewise,

as the court in Feeassco, LLC v. Steel Network, Inc. recognized, the erroneous legal



                                          37
USCA11 Case: 22-11150       Document: 37      Date Filed: 08/26/2022   Page: 49 of 67



standard advocated by Wright and adopted by the District Judge that due process

requires Rule 37 sanctions to be specifically related to “the issue upon which

discovery was sought and refused,” patently misreads Insurance Corp., which

“refer[s] to a ‘claim’ as opposed to an ‘issue.’” 264 N.C. App. 327, 343 (2019)

(affirming sanction striking answer and establishing liability in favor of plaintiffs

where sanction was specifically related to plaintiffs’ claims for breach of contract,

quantum meruit, and unfair and deceptive trade practices at issue in discovery order).

      There can be no dispute that the discovery at issue here related to the Estate’s

partnership claim, as it sought to identify the assets of the partnership itself. Both

the Magistrate Judge and District Judge found the discovery the Estate sought,

including a list of Wright’s bitcoin holdings, was directly relevant to its claims,

specifically its claims involving the parties’ partnership. ECF [311] at 21, 22; ECF

[277] at 27 (finding by “clear and convincing evidence” that “Wright’s conduct []

prevented [the Estate] from obtaining evidence that the Court found relevant to [its]

claim that Dr. Wright and David Kleiman formed a partnership to develop Bitcoin

technology and to mine bitcoin”). The District Judge agreed that the Deemed Facts

likewise were “aimed at establishing the partnership that is alleged to have existed

between David Kleiman and [Wright,] and the determination of that partnership’s

property[.]” ECF [373] at 20. Indeed, had Wright produced a list of his actual bitcoin

holdings, the Estate could have used those “digital bread crumbs” to obtain other



                                         38
USCA11 Case: 22-11150        Document: 37       Date Filed: 08/26/2022   Page: 50 of 67



discovery relevant to establishing a partnership between the two men, including,

among other things, whether there was deliberate coordination in the mining of the

bitcoin.     See, e.g., https://www.nytimes.com/2021/06/09/technology/bitcoin-

untraceable-pipeline-ransomware.html/ (last accessed August 17, 2022); see also

ECF [332] at 19-21 (discussing the relevance of the requested discovery to the

partnership issue). Thus, applying the correct legal standard set forth in Rule 37

and both this Court’s and the Supreme Court’s precedent, see supra § II(A), the

Deemed Facts are specifically related to the Estate’s claim at issue in the discovery

orders.11

      Both the Magistrate Judge and the District Court also found the sanctions were

“just.” After recounting the history of Wright’s misconduct, ECF [277] at 2-11, the

Magistrate Judge found by “clear and convincing evidence” that Wright’s “non-

compliance with the Court’s Order [wa]s willful and in bad faith”; he “engaged in a

willful and bad faith pattern of obstructive behavior, including . . . intentionally

submit[ing] fraudulent documents to the Court, obstruct[ing] a judicial proceeding,

and g[iving] perjurious testimony         No conduct is more antithetical to the



11
   In any event, the District Court held Wright waived the ability to challenge the
Magistrate Judge’s order that Wright’s bitcoin holdings were relevant to the Estate’s
claims. ECF [373] at 17 & n. 8; see also, e.g., Smith v. Sch. Bd. of Orange Cnty.,
487 F.3d 1361, 1365 (11th Cir. 2007) (“[W]here a party fails to timely challenge a
magistrate's nondispositive order before the district court, the party waive[s] his right
to appeal those orders in this Court.”); Fed. R. Civ. P. 72(a).

                                           39
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 51 of 67



administration of justice.” Id. at 27-28. The District Judge agreed, finding “no doubt

that the Plaintiffs were prejudiced by [Wright’s] antics. It is clear to the Court that

[Wright’s] conduct was anything but substantially justified or harmless. [His]

conduct delayed and obstructed the discovery process of this case[.]” ECF [373] at

21; id. at 18 (Wright “willfully obstructed th[e] [discovery] process”).

      Finally, the Magistrate Judge found, again by clear and convincing evidence,

that “particularly given the extended pattern of non-compliance and its

egregiousness[,] a lesser sanction [wa]s not adequate to punish [Wright’s non-

compliance] or to ensure future compliance with the Court’s Orders.” ECF [277] at

27.12 The issue sanctions were “necessary to achieve the remedial and punitive

purposes of Rule 37. No lesser sanction would suffice.” Id. at 28.13 Accordingly,



12
  As detailed below, the Magistrate Judge was absolutely correct. Once left off the
hook, Wright seemed to think that perjury and forgery were an effective strategy in
federal court. His perjury and forgeries continued.
13
   Wright’s alleged belated compliance does not moot the issue sanctions. See, e.g.,
S. New England Tel. Co. v. Glob. NAPs Inc., 624 F.3d 123, 149 (2d Cir. 2010)
(“Even when a party finally (albeit belatedly) complies with discovery orders after
sanctions are imposed, these purposes may still justify the sanctions: If parties are
allowed to flout their obligations, choosing to wait to make a response until a trial
court has lost patience with them, the effect will be to embroil trial judges in day-to-
day supervision of discovery, a result directly contrary to the overall scheme of the
federal discovery rules. Moreover, . . . compulsion of performance in the particular
case at hand is not the sole function of Rule 37 sanctions. Under the deterrence
principle of [National Hockey League v. Metropolitan Hockey Club, Inc., 427 U.S.
639, 643 (1976)], plaintiff’s hopelessly belated compliance should not be accorded
great weight. Any other conclusion would encourage dilatory tactics, and

                                          40
USCA11 Case: 22-11150        Document: 37       Date Filed: 08/26/2022   Page: 52 of 67



this Court should reverse the District Judge’s order vacating the Magistrate Judge’s

order imposing issue sanctions and remand for a new trial on the Estate’s claims

with the Deemed Facts established.

         Further, if left undisturbed by this Court, the erroneous legal standard

created and applied by the District Judge will drastically restrict the ability of Courts

to ensure compliance with discovery orders, as the incentive to not comply will often

outweigh the potential sanctions for non-compliance. Accordingly, the Court should

reverse the District Judge’s order vacating the Magistrate Judge’s order imposing

issue sanctions to remedy Wright’s willful and bad faith conduct.

   B. Even if the District Judge applied the correct legal standard, it still
      abused its discretion by vacating the Magistrate Judge’s order imposing
      issue sanctions.

      The District Court abused its discretion even if it were correct that, contrary

to the text of Rule 37 and applicable precedent, see supra § II(A), facts could not be

deemed established unless they specifically related to the discovery issue pending

before the court. Specifically, the District Judge stated that the only discovery

ordered by the Magistrate Judge was production of “evidence to document the

existence and extent of [Wright’s] bitcoin holdings[.]” ECF [373] at 20. Not so.




compliance with discovery orders would come only when the backs of counsel and
the litigants were against the wall.”) (alteration and quotations omitted).

                                           41
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 53 of 67



      But that is the point the District court missed. Had a real list of “Wright’s”

bitcoin been produced, Plaintiff could have had expert analysis to demonstrate an IP

address, email address, or exchange records associated with that mined bitcoin

which traced back to David Kleiman. Alternatively, the list could show that the

partnership’s bitcoin was mined during Eastern Standard Time (i.e., Florida where

Dave lived) and not Australian Eastern Standard Time (i.e., Australia, where Wright

lived). Moreover, if any of the bitcoin had been transacted, Plaintiff could have

traced that activity across the public blockchain to potentially find the recipient and

then depose that individual to discover that, e.g., he/she had received that bitcoin

from David Kleiman (and not Wright). Expert analysis could have also demonstrated

the computing power expended by the person who mined the bitcoin, which could

reveal the type of computer they used, which could have been shown to be Dave’s

computer systems and not Wright’s. Indeed, subjecting the list of mined bitcoin to

blockchain analysis could have revealed quirks in the mining pattern that indicated

a coordinated mining effort, i.e., a partnership. In sum, had Wright actually provided

an authentic list of his bitcoin holdings, Plaintiff could have used it as an effective

discovery tool to demonstrate Wright’s partnership with David.

      Accordingly, the discovery issues do specifically relate to the Deemed Facts,

which likewise concerned the existence and assets of the partnership between the

two men. See ECF [277] at 27-28 (finding that Wright’s willful and bad faith non-



                                          42
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 54 of 67



compliance with discovery orders “prevented Plaintiffs from obtaining evidence that

the Court found relevant to Plaintiffs’ claims that Dr. Wright and David Kleiman

formed a partnership to develop Bitcoin technology and to mine bitcoin,” and that

“Plaintiffs have also been prejudiced by not being able to try to trace the bitcoin that

was mined”).

      Accordingly, the District Judge’s application of her own erroneous Rule

37(b)(2)(A) standard was an abuse of discretion and should be reversed. See Fuentes

v. Classica Cruise Operator Ltd., Inc., 32 F.4th 1311, 1321 (11th Cir. 2022) (abuse

of discretion where district court’s decision concerning whether to impose sanctions

“constitute[s] a clear error of judgment”); Serra Chevrolet, 446 F.3d at 1147 (abuse

of discretion where district court “ignores or misunderstands the relevant evidence,

and bases its decision upon considerations having little factual support”).

   C. The Magistrate Judge correctly found that no lesser sanction would
      suffice to address Wright’s pervasive misconduct.

      As discussed supra in § II(A), the Magistrate Judge held that certain facts

would be deemed admitted and that “no lesser sanction would suffice.” ECF [277]

at 28. The District Judge, however, revered the sanction deeming facts admitted.

      Unfortunately, that ruling taught Wright that perjury and forgery are effective

and efficient defenses in federal court. He resumed his pattern of perjury and

submission of false evidence.




                                          43
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 55 of 67



      After spending millions of dollars in fees and costs trying to chase down and

unpack all of Wright’s continued misconduct, Plaintiffs filed an Omnibus Sanctions

Motion (ECF [507]) seeking default judgment or in the alternative an order deeming

certain facts admitted or an adverse inference instruction. In ruling on the motion,

the District Judge found that Wright’s testimony had been “glaringly inconsistent”

and that the Estate had raised “unsettling issues” about Wright’s litigation conduct.

ECF [595] at 36. Nevertheless, the Court did not reinstate the prior sanctions, and

refused to impose any new sanctions.

       The extent, duration, and egregious nature of Wright’s perjuries, forgeries,

and misrepresentations, the fact that so many of them were directed at the Court (not

just the Estate), and the fact that Wright was unrepentant, recalcitrant, and reverted

to the exact same conduct after the District Court previously gave him the benefit of

the doubt with a relatively minor sanctions order, all demonstrate that his acts were

willful and in bad faith, that the Magistrate Judge was right, no lesser sanction would

have sufficed, and the Magistrate Judge’s sanctions should be reinstated. At the very

least, the Court should have granted the Estate’s alternative request for an instruction

to the jury regarding Wright’s spoliation. See ECF [618] at 37; ECF [794]; see also

Cox v. Target Corp., 351 F. App’x 381, 383 (11th Cir. 2009) (spoliation instruction

is “required” when spoliation “is predicated on bad faith”); Adamson v. R.J.

Reynolds Tobacco Co., 325 So. 3d 887, 896 (Fla. Dist. Ct. App. 2021) (bad faith



                                          44
USCA11 Case: 22-11150        Document: 37     Date Filed: 08/26/2022   Page: 56 of 67



means “intentionally or willfully” done), rev. denied, 2021 WL 6140352 (Fla. Dec.

30, 2021).

   III.   The District Court abused its discretion in denying the estate’s motion
          for a new trial despite Wright’s multiple, intentional violations of the
          in limine order.

      Notwithstanding that before trial the District Court rendered a clear, definitive

in limine order excluding evidence of the sibling relationship between Ira and David

Kleiman, Wright intentionally violated this order at least 10 times, despite several

sustained objections, severely prejudicing the Estate. See Factual Background II.C.,

supra. In light of the repeated, intentional violations, the Estate moved for a new

trial, which the trial court denied on the grounds that the Estate “waived” the issue

by not objecting to every violation and the violations were not “so prejudicial as to

warrant a new trial.” ECF [887] at 6-8. This Court should reverse and order a new

trial because there was no waiver and the misconduct was indeed sufficiently

prejudicial to the Estate.

      This Court evaluates the entirety of the circumstances “to determine whether

the inappropriate remarks were such as to impair gravely the calm and dispassionate

consideration of the case by the jury.” Vinson, supra (quoting Ruiz v. Wing, 991

F.3d 1130, 1141 (11th Cir. 2021)). Although appellate courts are reluctant to grant

a new trial when the lower court has declined to do so, “it is nevertheless clear that

counsel should not introduce extraneous matters before a jury or, by questions or


                                         45
USCA11 Case: 22-11150        Document: 37       Date Filed: 08/26/2022   Page: 57 of 67



remarks, endeavor to bring before it unrelated subjects, and, where there is a

reasonable probability that the verdict of a jury has been influenced by such conduct,

it should be set aside.” City of Cleveland v. Peter Kiewit Sons' Co., 624 F.2d 749,

756 (6th Cir. 1980). In making this determination, the reviewing court “must

examine, on a case-by-case basis, the totality of the circumstances, including the

nature of the comments, their frequency, their possible relevancy to the real issues

before the jury, the manner in which the parties and the court treated the comments,

the strength of the case (e. g. whether it is a close case), and the verdict itself.” Id.

The appellant need not prove that the improper conduct was the sole or even primary

cause of the verdict, only that there is a “reasonable probability that the verdict of a

jury [was] influenced” or that the jury’s deliberations were “gravely impaired.” Id.

      Thus, for example, if counsel improperly “impl[ies] a basis for the verdict

other than the evidence presented” and the trial court nevertheless denies a new trial,

this Court may reverse for abuse of discretion, if the wrongful conduct “could cause

the jury to lose sight of the essential issue” and “impair its calm and dispassionate

consideration of the case.” Allstate Ins. Co. v. James, 845 F.2d 315, 319 (11th Cir.

1988) (reversing and granting new trial based on improper remarks during closing

argument).




                                           46
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 58 of 67



      A. A new trial should be ordered, because Wright’s multiple, intentional
         violations of the in limine order influenced the jury’s dispassionate
         consideration of the case.

          1. The Estate did not waive the issue.

      There is no basis for the District Court’s conclusion that the Estate waived its

objection to Wright’s violations of the in limine order. Quite the contrary, the Estate

brought the issue to the court’s attention several times. As detailed above, the Estate

successfully objected at the outset, when Wright’s counsel improperly tried to raise

the brothers’ relationship in his opening statement. ECF [837] Trial Tr. Day 1 at

210:16–211:2. The Estate objected again, twice, and even requested a sidebar when

counsel violated the order at the very beginning of his questioning of Ira Kleiman,

but the court without explanation overruled the objections and denied the requested

sidebar. ECF [839] Trial Tr. Day 3 at 149:22–150:24. The next day, the Estate

renewed the objection, and this time it was sustained. ECF [840] Trial Tr. Day 4 at

23:12–24:1. The Estate made additional objections throughout the trial. ECF [840]

Trial Tr. Day 4 at 173:13–25; ECF [841] Trial Tr. Day 5 at 68:7–21.

      Counsel for the Estate was in a difficult position because Wright simply

persisted with his improper conduct, without the slightest regard for the Court’s

pretrial Order, or its multiple sustained objections. And each objection itself brought

attention to the issue of the sibling relationship in a way that the in limine order was

intended to prevent, as would any motion to strike or request for a curative



                                          47
USCA11 Case: 22-11150         Document: 37      Date Filed: 08/26/2022    Page: 59 of 67



instruction. It is true that the Estate did not object to every single one of Wright’s

multiple, intentional violations, but it surely did do more than enough to “bring the

matter to the Court’s attention in a timely manner before the jury’s verdict.” ECF

[887] at 7 (quotation omitted). A party that successfully moves for a clear and

definitive in limine order should not be forced to play “whack-a-mole” and risk

waiver when the opposing party simply decides to ignore the order.

      Moreover, repeated objections are not required to preserve an issue. See Rule

103(b), Fed. R. Civ. Pro. (“Once the court rules definitively on the record — either

before or at trial — a party need not renew an objection or offer of proof to preserve

a claim of error for appeal”). All a party need do is bring the issue to the trial court’s

attention in a timely manner, which the Estate did repeatedly both before and during

the trial. See Stewart & Stevenson Servs., Inc. v. Pickard, 749 F.2d 635, 643 (11th

Cir. 1984) (no waiver where “the methods used by Stewart & Stevenson as a whole

were reasonably sufficient to direct the court's attention to these issues”); United

States v. Hernandez, 921 F.2d 1569, 1582 (11th Cir. 1991) (no waiver despite failure

to object because “codefendant's objection brought issue to judge’s attention”);

Lawler v. Alexander, 698 F.2d 439, 441 (11th Cir. 1983) (no waiver despite no

objection to order redefining the class, because “Plaintiffs’ Motion to Compel and

the subsequent conference … sufficiently called to the district court’s attention their

opposition to the redefinition order”); Kucel v. Walter E. Heller & Co., 813 F.2d 67,



                                           48
USCA11 Case: 22-11150          Document: 37    Date Filed: 08/26/2022   Page: 60 of 67



74 (5th Cir. 1987) (“Having once properly notified the court of the issue, it satisfied

its duty,” no waiver for failure to raise it again until motion for reconsideration).

      Also, where, as here, the case involves attorney misconduct, a new trial is

often appropriate, even when there has been no objection or other effort to call the

matter to the attention of the trial court. See McWhorter v. City of Birmingham, 906

F.2d 674, 677 (11th Cir. 1990) (affirming new trial for single violation in closing

argument to which the opposing party did not object); Christopher v. Florida, 449

F.3d 1360, 1365 (11th Cir. 2006) (same); see also Goodman v. Safeco Insurance Co.

of Illinois, 2015 WL 898696, at *4 (M.D. Fla. Mar. 3, 2015) (same). “[W]here the

interest of substantial justice is at stake, improper argument may be the basis for a

new trial even if no objection has been raised.” McWhorter, 906 F.2d at 677. It

follows a fortiori there was no waiver here, where there were multiple, intentional

violations of a clear order.

      In light of the record as a whole and the above authorities, the District Court’s

finding of waiver should be reversed.

          2. The violations were of sufficient magnitude to warrant a new trial.

      The District Court expressly found in its Order on Plaintiffs’ Motion in Limine

that introduction of the sibling relationship evidence would “raise significant

concerns that the jury will make a decision in this case premised on how ‘good’ of a

brother Ira [Kleiman] was or whether [he] ‘deserves’ Dave [Kleiman’s] fortune –



                                          49
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022     Page: 61 of 67



instead of basing their decision on the facts and merits of the case.” ECF [623] at

15. The strong potential for substantial prejudice is obvious, and Law360 article

confirms that this is exactly what occurred due to Defendant’s repeated violations of

this order. See Carolina Bolado, No Proof Bitcoin ‘Inventor’ Owed Friend, Juror

Tells           Law360,           Law360,            Dec.           23,            2021,

https://www.law360.com/articles/1451020/no-proof-bitcoin-inventor-owed-friend-

juror-tells-law360 (“In three years he didn’t go to the hospital?” the juror said. ‘That

clouded my view as far as what the actual record stated.’”) Nevertheless, the District

Court said it was “not persuaded that Defendant’s purported misconduct was so

prejudicial as to warrant a new trial.” ECF [887] at 7-8. The Estate respectfully

submits that this was error. None of the court’s stated reasons for its conclusion

survives scrutiny.

        First, the court said that “Ira Kleiman voluntarily testified that he and David

Kleiman did not discuss David’s lengthy hospitalizations or serious health

conditions,” which supposedly “demonstrate[ed] a limited relationship between Ira

and David Kleiman.” Id. at 8. With respect, it is difficult to fathom how Ira’s

statement that he never discussed Dave’s health condition with his brother could

conceivably relate to or open the door to the highly prejudicial and misleading

material that Wright put in, such as “Ira never visited Dave in the hospital,” “Ira

never saw Dave in person after Thanksgiving 2009,” and “Ira never communicated



                                          50
USCA11 Case: 22-11150        Document: 37       Date Filed: 08/26/2022   Page: 62 of 67



with Dave during the final year of Dave’s life,” and “Ira was not aware of Dave’s

death for several days after Dave died.” These are entirely different and far more

prejudicial topics. The Court’s comment is inconsistent with its own rulings during

trial, where Wright twice argued that the door had been opened to sibling

relationship evidence, and the Court rejected his arguments both times. ECF [837]

Trial Tr. Day 1 at 211:20–21; ECF [840] Trial Tr. Day 4 at 176:13–15 (“THE

COURT: Well, if you believe that he said anything to open the door with regard to

the sibling relationship, he has not.”).

      The District Court next found that the Law360 article “does not support its

position that the references of the siblings’ relationship affected the jury’s verdict,”

ECF [887] at 8, even though the juror stated unequivocally: “In three years he didn’t

go to the hospital? …. That clouded my view as far as what the actual record

stated.” See Carolina Bolado, No Proof Bitcoin ‘Inventor’ Owed Friend, Juror Tells

Law360, Law360, Dec. 23, 2021, https://www.law360.com/articles/1451020/no-

proof-bitcoin-inventor-owed-friend-juror-tells-law360. In other words, this juror,

and surely others, did not give “calm and dispassionate consideration” to the actual

evidence; their views were “gravely impaired” by Wright’s violations of the order,

and that is precisely what requires a new trial. Vinson, 12 F.4th at 1277.

      The court ignored this quote and instead focused on the juror’s statement that

plaintiffs “never proved to me without a shadow of a doubt that he was involved in



                                           51
USCA11 Case: 22-11150       Document: 37      Date Filed: 08/26/2022   Page: 63 of 67



bitcoin in any way.” ECF [887] at 8. But this is the conclusion the juror reached

with his view of the record admittedly “clouded” by the sibling relationship

evidence. Indeed, even the juror’s quote does not support the Court’s conclusion as

it appears that the juror’s mind was so clouded he believed that plaintiffs were

required to prove the partnership “without a shadow of a doubt,” although in reality

the standard of proof was just “preponderance of the evidence.”

      While the juror’s statements to Law360 are compelling, the Estate submits

they are far from necessary, as it is obvious that the improper statements on their

face alone give rise to a reasonable probability that they impaired the jury’s

“dispassionate consideration” of the case. The juror’s statements merely confirm

the obvious and make even clearer that the Estate should be granted a new trial.

      The District Court lastly found that a new trial was not warranted because

Wright “never urged the jury at any point during trial, let alone during closing

argument, to decide the Estate’s claims on an improper basis—namely, that the

siblings were estranged, and Ira Kleiman was, therefore, undeserving.” ECF [887]

at 9. Of course, however, that was the entire purpose of Wright’s repeated efforts to

evade the in limine Order, and it worked as Wright intended. Wright should not be

allowed to reap the rewards of his misconduct simply because his counsel did not

say explicitly what was so obviously, and intentionally, implied. Allstate Ins. Co. v.

James, 845 F.2d at 319 (new trial may be ordered if counsel “impl[ies] a basis for



                                         52
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 64 of 67



the verdict other than the evidence presented”). As the District Court itself stated in

granting the Estate’s in limine motion, it was enough that the mere introduction of

the sibling relationship evidence raised “significant concerns” that the jury w[ould]

‘make a decision in this case premised on how “good” of a brother Ira [Kleiman]

was or whether [he] “deserves” Dave [Kleiman’s] fortune – instead of basing their

decision on the facts and merits of the case.” ECF [623] at 15.

      The District Court finally commented that the wrongdoing did not warrant a

new trial because “the jury was properly instructed that their decision must be based

on the actual evidence presented and they must not be influenced by any sympathy

or prejudice toward against any party.” ECF [887] at 9-10. In the first place, in the

instances where the Estate’s objections were overruled and the request for a sidebar

was denied, the improper evidence became part of the “the actual evidence

presented,” and the jury would have believed they were entitled to consider it.

Furthermore, such an instruction is not effective once a jury has been exposed to

highly prejudicial materials. See O’Rear v. Fruehauf Corp., 554 F.2d 1304, 1309

(5th Cir. 1977) (“[Y]ou can throw a skunk into the jury box and instruct the jurors

not to smell it, but it doesn't do any good”); Singh v. Caribbean Airlines Ltd., 13-

CV-20639, 2014 WL 4101544, at *1 (S.D. Fla. Jan. 28, 2014) (“In resolving

evidentiary disputes before trial, motions in limine avoid the need to ‘unring the bell’

once inadmissible evidence has been presented to the jury”).



                                          53
USCA11 Case: 22-11150        Document: 37      Date Filed: 08/26/2022   Page: 65 of 67



      For all of the above reasons, this Court should grant a new trial on the

partnership claims due to the intentional violations of the order. The Estate’s well-

supported partnership claim is for a substantial amount of money, and it is only natural

that a jury would be highly reluctant to rule for the Estate if it concluded that the

primary beneficiary, Ira Kleiman, was a bad, undeserving brother. This Court should

not allow Wright to get away scot-free with his multiple violations of the clear order.

                                   CONCLUSION

      For the foregoing reasons, the Estate respectfully requests that this Court

remand this case for a new trial on its claims.

                                                  Respectfully Submitted,

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                                          54
USCA11 Case: 22-11150      Document: 37      Date Filed: 08/26/2022   Page: 66 of 67



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      This brief complies with the type-volume limitations of Fed. R. App. P.

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                                        55
USCA11 Case: 22-11150       Document: 37      Date Filed: 08/26/2022   Page: 67 of 67



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                                         56
